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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

Kimberly Edelstein,

        Plaintiff,
                                                          Case No. 1:17cv305

                v.                                        Judge Michael R. Barrett

Judge Greg Stephens, et al.,

        Defendants.

                         AMENDED JUDGMENT IN A CIVIL CASE

        [     ] JURY VERDICT: This action came before the Court for a trial by jury.
                The issues have been tried and the Jury has rendered its verdict.

       [ X]    DECISION BY COURT: This action came to trial or hearing before the
               Court. The issues have been tried or heard and a decision has been
               rendered.


IT IS ORDERED AND ADJUDGED: To the extent that Plaintiff moves for certification
pursuant to Federal Rule of Civil Procedure 54(b) as to her substantive due process,
intentional interference with a business relationship, intentional infliction of emotional
distress and defamation claims against Defendant Gmoser, the Motion for
Reconsideration is GRANTED.

Date: March 1, 2021                         Richard W. Nagel, Clerk
                                           Clerk

                                     By:           S/Barbara A. Crum
                                           Deputy Clerk
